ORIGINAL

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 18-00309-01-CR-W-GAF
JAMES SAMUELS
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties, The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the
United States”), represented by Timothy A. Garrison, United States Attorney, and Bradley K.
Kavanaugh, Assistant United States Attorney, and the defendant, James Samuels (“the
defendant”), represented by John A. Picerno.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to
the following counts of the Indictment: Count One, charging him with a violation of 18 U.S.C.

§§ 371 and 924(a)(1)(A), that is, Conspiracy to Make False Statements During Purchase of
Firearms; Count Two, charging him with a violation of 18 U.S.C. §§ 922(a)(1)(A), 923(a) and
924(a)(1)(D), that is, Engaging in the Business of Dealing Firearms Without a License; Count
Five, Count Seven, Count Nine and Count Twelve, each charging him with a violation of 18 U.S.C.
§§ 922(d)(1) and 924(a)(2), that is Sale of a Firearm and Ammunition to a Prohibited Person; and
Count Thirteen, charging him with a violation of 26 U.S.C. §§ 5841, 5861(d) and 5871, that is,
Possession of an Unregistered Firearm. By entering into this plea agreement, the defendant
admits that he knowingly committed these offenses, and is in fact guilty of these offenses.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offenses to which he is pleading guilty are as follows:

On or about November 22, 2013, JAMES SAMUELS, purchased a Jimenez,
Model J.A. Nine, 9mm, pistol, Serial Number 284356, from Jimenez Arms, Inc.,
for $120 and had the firearm shipped to Conceal & Carry, Federal Firearm License
(FFL), located at 12004 East 47th Street Kansas City, Missouri. The firearm was
subsequently transferred to Co-Conspirator #1 through Conceal & Carry on or
about July 7, 2014. The firearm was reported stolen by Co-Conspirator #1 on or
about July 23, 2014, sixteen (16) days after purchase, during a reported armed
robbery in Kansas City, Missouri. On or about November 13, 2013, SAMUELS
purchased a Jimenez, Model J.A. 380, .380 caliber, pistol, Serial Number 285794,
from Foothills Firearms, LLC, via GunBroker.com for $100 and had the firearm
shipped to Conceal & Carry. The firearm was subsequently transferred to Co-
Conspirator #1 through Conceal & Carry on or about July 21, 2014. Co-
Conspirator #1 then reported the firearm stolen on or about July 23, 2014, two (2)
days after purchase, during a reported armed robbery in Kansas City, Missouri.
On or about November 22, 2013, SAMUELS purchased a Jimenez, Model L.C.
380, .380 caliber, pistol, Serial Number 264092, from Jimenez Arms, Inc., for $120
and had the firearm shipped to Conceal & Carry. The firearm was subsequently
transferred to Co-Conspirator #1 through Conceal & Carry on or about August 6,
2014. Two (2) Jimenez firearms were reported stolen by Co-Conspirator #1 with
unknown serial numbers on or about December 19, 2014, during a reported
burglary with forced entry. On or about December 10, 2013, SAMUELS
purchased a Jimenez, Model L.C. 380, .380 caliber, pistol, Serial Number 264659,
from Jimenez Arms, Inc., for $120.00 and had the firearm shipped to Conceal &
Carry. The firearm was subsequently transferred to Co-Conspirator #1 through
Conceal & Carry on or about November 2, 2014. Two (2) Jimenez firearms were
reported stolen by Co-Conspirator #1 with unknown serial numbers on or about

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December 19, 2014, during a reported burglary with forced entry. On or about
November 14, 2015, a Jimenez, Model J.A. Nine, 9mm, pistol, Serial Number
098813, was transferred to SAMUELS at CR Sales (FFL), 1703 South Noland
Road, Independence, Missouri. SAMUELS then transferred the firearm to Co-
Conspirator #1 at Green Tip Arms, LLC (FFL), 203 South Pelham Path Raymore,
Missouri, on or about February 1, 2016. On or about October 27, 2016,
SAMUELS purchased a Jimenez, Model L.C. 380, .380 caliber, pistol, Serial
Number 264089 from Security Solutions via GunBroker.com for $125. On or
about May 1, 2017, SAMUELS transferred the firearm to Co-Conspirator #1 at
Mission Ready Gunworks (FFL) 1924 Linn Street, Kansas City, Missouri. On or
about June 11, 2017, Co-Conspirator #1 reported the firearm stolen forty-one (41)
days after transfer. From approximately June 1, 2015 to approximately November
2, 2016, SAMUELS had six (6) firearms transferred to him at CR Sales, two (2) of
which were transferred out to a third party on an ATF Form 4473, and four (4) were
transferred to third parties at three (3) different FFLs. From approximately
January 7, 2017 to approximately November 21, 2017, SAMUELS had sixteen (16)
firearms transferred to him at Mission Ready Gunworks. SAMUELS transferred
three (3) of those sixteen (16) firearms to a third party on ATF Form 4473 at
Mission Ready Gunworks.

From approximately November 2013 to August 2018, SAMUELS purchased
seventy-seven (77) firearms. Of the seventy-seven (77) firearms SAMUELS
purchased, fifty-seven (57) were Jimenez pistols. Of the seventy-seven (77)
firearms SAMUELS purchased, forty-seven (47) were transferred to third parties
on ATF Form 4473. Of the forty-seven (47) firearms transferred to third parties,
forty-three (43) were Jimenez pistols. On average, from the date SAMUELS
purchased (not acquired) the firearms to the date they were transferred to third
parties on ATF Form 4473 was 189 days. Eleven (11) firearms were transferred
to a third party forty (40) days or less from the date of purchase by SAMUELS.
During this time, SAMUELS was not a licensed dealer of firearms within the
meaning of Chapter 44, Title 18, United States Code.

On July 19, 2018, an Undercover Special Agent (UC) with the Bureau of Alcohol,
Tobacco, Firearms, and Explosives (ATF) and ATF Confidential Informant (CI)
#1331, met with SAMUELS at his residence, located at 2201 East 38th Street,
Kansas City, Jackson County, Missouri, to purchase a Jimenez Arms, Model J.A.
NINE, 9mm pistol, Serial Number 355076, two pistol magazines and one (1) box
containing fifty (50) rounds of Monarch 9mm ammunition. SAMUELS, who was
aware that ATF CI #1331 was a felon, sold the firearm to ATF CI #1331 for $280.00
and the box of ammunition for $10.00. After receiving payment, ATF CI #1331
and ATF UC #1 accompanied SAMUELS to Mission Ready Gunworks located at
1924 Linn Street, North Kansas City, Missouri so that ATF UC #1 could complete
an ATF Form 4473 and complete the straw purchase of the firearm on behalf of
ATF CI #1331. The completion of the straw purchase was at the direction of
SAMUELS.

On September 5, 2018, ATF CI #1331 and ATF UC #2, met with SAMUELS at
his residence to purchase a rifle and ammunition. SAMUELS agreed to sell to
ATF CI #1331 an American Tactical Imports Omni-Hybrid AR-15 .223 caliber
rifle, Serial Number NS179118, one (1) 30-round magazine, four (4) boxes, each
containing twenty (20) rounds of Wolf .223 caliber ammunition, and firearm-
related accessories for the rifle for $690.00. After receiving payment,
ATF CI #1331 and ATF UC #2 accompanied SAMUELS again to Mission Ready
Gunworks so that ATF UC #2 could complete an ATF Form 4473 and complete
the straw purchase of the rifle on behalf of ATF C1 #1331. The completion of the
straw purchase was at the direction of SAMUELS.

On September 5, 2018, ATF CI #1331 and ATF UC #2, met with SAMUELS in
the parking lot at Mission Ready Gunworks to purchase a second firearm and
additional ammunition. SAMUELS agreed to sell to ATF CI #1331 an American
Tactical Imports Omni-Hybrid AR-15 .223 caliber pistol, Serial Number
NS180358, one (1) 30-round magazine, and two (2) boxes, each containing twenty
(20) rounds of Wolf .223 caliber ammunition for $650.00. After receiving
payment, ATF Cl #1331 and ATF UC #2 accompanied SAMUELS into Mission
Ready Gunworks so that ATF UC #2 could again complete an ATF Form 4473 and
complete the straw purchase of the pistol on behalf of ATF CI #1331. The
completion of the straw purchase was at the direction of SAMUELS.

On October 4, 2018, ATF CI #1331 and ATF UC #2, met with SAMUELS at his
residence to purchase a firearm and ammunition. SAMUELS agreed to sell to
ATF CI #1331 an Armscor of the Philippines, Model 206 .38 special caliber
revolver, Serial Number RIA1847487, and one (1) box containing fifty (50) rounds
of Winchester .38 special ammunition for $395.00. After receiving payment, ATF
CI #1331 and ATF UC #2 accompanied SAMUELS again to Mission Ready
Gunworks so that ATF UC #2 could complete an ATF Form 4473 and complete
the straw purchase of the pistol on behalf of ATF CI #1331. The completion of
the straw purchase was at the direction of SAMUELS.

On October 4, 2018. SAMUELS was taken into custody and transported to Kansas
City Missouri Police Department Headquarters where he was interviewed.
SAMUELS was advised of his rights per Miranda and agreed to speak with law
enforcement. SAMUELS admitted to buying approximately eighty (80) firearms
over the last five (5) years at low prices. SAMUELS admitted to selling the
firearms for a $40 to $50 profit. SAMUELS admitted to selling ten (10) to twenty
(20) firearms with knowledge that they were going to a prohibited person. In
regards to the ten (10) to twenty (20) firearms SAMUELS knew were going to a
prohibited person, SAMUELS had the prohibited person get a non-prohibited

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person, straw purchaser, to complete the ATF Form 4473 and NICS check to
transfer the firearms to.

On October 4, 2018, law enforcement executed a search warrant for SAMUELS’s
residence, located at 2201 East 38th Street, Kansas City, Jackson County, Missouri.
Upon execution of the warrant, law enforcement recovered twenty-eight (28)
firearms, consisting of twenty-two (22) handguns, five (5) rifles and one (1)
shotgun. One of the firearms recovered was a Glock, Model 22 .40 caliber, bearing
Serial Number NMG800 with a TAC Isran GLR 440 stock attached, making it a
short barrel rifle, pursuant to 26 U.S.C. §§ 5845(a)(3) and (c). The stock
attachment meant the weapon was “designed or redesigned, made or remade, and
intended to be fired from the shoulder” and thus, a “rifle.” This firearm was not
registered to SAMUELS in the National Firearms Registration and Transfer
Record, in violation of 26 U.S.C. § 5861(d). Further, a Colt, Model 1911, .45
caliber semi-automatic handgun, bearing serial number FA24014 was also
recovered. This firearm had been reported stolen to the Raytown, Missouri Police
Department on August 24, 2013. In addition to the firearms, approximately
12,000 rounds of assorted ammunition, firearm parts and accessories, firearm-
related documents and purchase receipts, $11,282 in U.S. currency and two (2)
computers were recovered.

The defendant agrees that he has the ability to pay a fine and he further agrees that

$11,282 seized from him on October 4, 2018, will be applied to any fine imposed

by the Court. As set forth in Paragraph 16(g), the defendant agrees to pay the

Special Assessment, which is separate from any fine imposed by the Court, at or

before sentencing.

4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,
understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining his guilt and advisory sentencing range
under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the
defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The defendant
acknowledges, understands and agrees that the conduct charged in any dismissed counts of the
indictment as well as all other uncharged related criminal activity may be considered as “relevant

conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the charge to

which he is pleading guilty.
5. Statutory Penalties. The defendant understands that upon his plea of guilty to Count
One of the Indictment, charging him with a violation of 18 U.S.C. §§ 371 and 924(a)(1)(A), that
is, Conspiracy to Make False Statements During Purchase of Firearms, the maximum penalty the
Court may impose is not more than five (5) years of imprisonment, a $250,000 fine, three (3) years
of supervised release, and a $100 mandatory Special Assessment per felony count of conviction
which must be paid in full at the time of sentencing. The defendant further understands that this
offense is a Class D felony.

The defendant understands that upon his plea of guilty to Count Two of the Indictment,
charging him with a violation of 18 U.S.C. §§ 922(a)(1)(A), 923(a) and 924(a)(1)(D), that is,
Engaging in the Business of Dealing Firearms Without a License, the maximum penalty the Court
may impose is not more than five (5) years of imprisonment, a $250,000 fine, three (3) years of
supervised release, and a $100 mandatory Special Assessment per felony count of conviction
which must be paid in full at the time of sentencing. The defendant further understands that this
offense is a Class D felony.

The defendant understands that upon his plea of guilty to Count Five, Count Seven, Count
Nine and Count Twelve of the Indictment, each charging him with a violation of 18 U.S.C.
§§ 922(d)(1) and 924(a)(2), that is Sale of a Firearm and Ammunition to a Prohibited Person, the
maximum penalty the Court may impose for each count is not more than ten (10) years of
imprisonment, a $250,000 fine, three (3) years of supervised release, and a $100 mandatory Special
Assessment per felony count of conviction which must be paid in full at the time of sentencing.

The defendant further understands that each of these offenses are a Class C felony.
Lastly, the defendant understands that upon his plea of guilty to Count Thirteen of the
Indictment, charging him with a violation of 26 U.S.C. §§ 5841, 5861(d) and 5871, that is,
Possession of an Unregistered Firearm, the maximum penalty the Court may impose is not more
than ten (10) years of imprisonment, a $250,000 fine, three (3) years of supervised release, and a
$100 mandatory Special Assessment per felony count of conviction which must be paid in full at
the time of sentencing. The defendant further understands that this offense is a Class C felony.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to
the following:

a. In determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. The Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

Ci In addition to a sentence of imprisonment, the Court may impose a
term of supervised release of up to three (3) years; that the Court must impose a
period of supervised release if a sentence of imprisonment of more than one year is
imposed;

d. If the defendant violates a condition of his supervised release, the
Court may revoke his supervised release and impose an additional period of
imprisonment of up to two (2) years without credit for time previously spent on
supervised release. In addition to a new term of imprisonment, the Court also may
impose a new period of supervised release, the length of which cannot exceed three
(3) years, less the term of imprisonment imposed upon revocation of the defendant's
first supervised release;

& The Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

E Any sentence of imprisonment imposed by the Court will not allow
for parole:
g. In addition to a sentence of imprisonment, the Court may also
impose a fine, pursuant to 18 U.S.C. §§ 3571 and 3572. The defendant agrees to
the imposition of a fine in the amount of $11,282. As set forth in Paragraph 3, the
defendant agrees that he has the ability to pay a fine and that $11,282 seized from
him on October 4, 2018 will be applied to any fine imposed by the Court.

h. The Court is not bound by any recommendation regarding the
sentence to be imposed or by any calculation or estimation of the Sentencing
Guidelines range offered by the parties or the United States Probation Office; and

i. The defendant may not withdraw his guilty plea solely because of
the nature or length of the sentence imposed by the Court.

7. Government’s Agreements. Based upon evidence in its possession at this time, the
United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,
agrees not to bring any additional charges against the defendant for any federal criminal offenses
related to Conspiracy to Make False Statements During Purchase of Firearms, Engaging in the
Business of Dealing Firearms Without a License, Sale of a Firearm and Ammunition to a
Prohibited Person and Possession of an Unregistered Firearm, for which it has venue and are
related to the events which arose out of the defendant’s conduct described in Paragraph 3 above.
Additionally, the United States agrees to dismiss Count Three, Count Four, Count Six, Count
Eight, Count Ten, Count Eleven and Count Fourteen of the Indictment at sentencing.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged 1s based solely on the promises

made by the defendant in this agreement. If the defendant breaches this plea agreement, the
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United States retains the right to proceed with the original charges and any other criminal
violations established by the evidence. The defendant expressly waives his right to challenge the
initiation of the dismissed or additional charges against him if he breaches this agreement. The
defendant expressly waives his right to assert a statute of limitations defense if the dismissed or
additional charges are initiated against him following a breach of this agreement. The defendant
further understands and agrees that if the Government elects to file additional charges against him
following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States
will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character, and
conduct of the defendant, including the entirety of his criminal activities. The defendant
understands these disclosures are not limited to the count to which he has pleaded guilty. The
United States may respond to comments made or positions taken by the defendant or the
defendant’s counsel and to correct any misstatements or inaccuracies. The United States further
reserves its right to make any recommendations it deems appropriate regarding the disposition of
this case, subject only to any limitations set forth in this plea agreement. The United States and
the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant
to Rule 32(1)(4) of the Federal Rules of Criminal Procedure.

9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored

to their pre-plea agreement positions to the fullest extent possible. However, after the plea has
been formally accepted by the Court, the defendant may withdraw his plea of guilty only if the
Court rejects the plea agreement or if the defendant can show a fair and just reason for requesting
the withdrawal. The defendant understands that if the Court accepts his plea of guilty and this
plea agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or
agree with, he will not be permitted to withdraw his plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the
Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory
in nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”:

b. The applicable Guidelines section for the offense of Conspiracy to
Make False Statements During Purchase of Firearms, in violation of 18 U.S.C.
§§ 371 and 924(a)(1)(A), Engaging in the Business of Dealing Firearms Without a
License, in violation of 18 U.S.C. §§ 922(a)(1)(A), 923(a) and 924(a)(1)(D), Sale
of a Firearm and Ammunition to a Prohibited Person, in violation of 18 U.S.C.
§§ 922(d)(1) and 924(a)(2) and Possession of an Unregistered Firearm, in violation
of 26 U.S.C. §§ 5841, 5861(d) and 5871, is U.S.S.G. § 2K2.1(a)(4), which provides
for a base offense level of 20. These counts are grouped together into a single
Group, pursuant to U.S.S.G. § 3D1.2;

e. The parties agree that at least a +4 level enhancement is applicable,
pursuant to U.S.S.G. § 2K2.1(b)(1)(B) because the offense involved at least
8 firearms:

d. The parties agree that a +2 level enhancement is applicable, pursuant

to U.S.S.G. § 2K2.1(b)(4) because the offense involved a stolen firearm;

é. The parties agree that a +4 level enhancement is applicable, pursuant
to U.S.S.G. § 2K2.1(b)(5) because the defendant engaged in the trafficking of
firearms:

f. The defendant has admitted his guilt and clearly accepted

responsibility for his actions, and has assisted authorities in the investigation or

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prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a three-level reduction pursuant to
§ 3E1.1(a) and (b) of the Sentencing Guidelines. The Government, at the time of
sentencing, will file a written motion with the Court to that effect, unless the
defendant (1) fails to abide by all of the terms and conditions of this plea agreement
and his pretrial release; or (2) attempts to withdraw his guilty plea, violates the law,
or otherwise engages in conduct inconsistent with his acceptance of responsibility;

g. The parties agree that the Court will determine his applicable
criminal history category after receipt of the presentence investigation report
prepared by the United States Probation Office;

h. The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept
these stipulations will not, as outlined in Paragraph 9 of this plea agreement,
provide the defendant with a basis to withdraw his plea of guilty;

It The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination
beyond a reasonable doubt of all facts used to determine and enhance the sentence
imposed, and waives any right to have those facts alleged in the indictment. The
defendant also agrees that the Court, in finding the facts relevant to the imposition
of sentence, may consider any reliable information, including hearsay;

ie The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that he will
make during his plea colloquy, support the imposition of the agreed-upon
Guidelines calculations contained in this agreement.

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11. Effect of Non-Agreement on Guidelines Applications. The parties understand.
acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the
plea agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal
charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the

United States expressly reserves the right in this case to:

a. Oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. Comment on the evidence supporting the charge in the indictment:

B Oppose any arguments and requests for relief the defendant might

advance on an appeal from the sentences imposed and that the United States
remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. Oppose any post-conviction motions for reduction of sentence, or
other relief.

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14. Waiver_of Constitutional Rights. The defendant, by pleading guilty,
acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the
following rights:

a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to be presumed innocent until his guilt has been
established beyond a reasonable doubt at trial:

ec The right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. The right to confront and cross-examine the witnesses who testify
against him;

S The right to compel or subpoena witnesses to appear on his behalf;
and

f. The right to remain silent at trial, in which case his silence may not
be used against him.

The defendant understands that by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that if he pleads guilty, the Court
may ask him questions about the offense or offenses to which he pleaded guilty, and if the
defendant answers those questions under oath and in the presence of counsel, his answers may
later be used against him in a prosecution for perjury or making a false statement. The defendant
also understands he has pleaded guilty to a felony offense and, as a result, will lose his right to
possess a firearm or ammunition and might be deprived of other rights, such as the right to vote or

register to vote, hold public office, or serve on a jury.
15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by
pleading guilty pursuant to this plea agreement he waives his right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement,
except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
misconduct.

b. The defendant expressly waives his right to appeal his sentence,
directly or collaterally, on any ground except claims of (1) ineffective assistance of
counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does not include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant
represents that he understands and agrees to the following financial obligations:

a. The Court may order restitution to the victims of the offense to
which the defendant is pleading guilty. The defendant agrees that the Court may
order restitution in connection with the conduct charged in any counts of the
indictment which are to be dismissed and all other uncharged related criminal
activity.

b. The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine.

c. The defendant will fully and truthfully disclose all assets and
property in which he has any interest, or over which the defendant exercises control
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant’s disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution order in full.

d. Within 10 days of the execution of this plea agreement, at the request
of the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed

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financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant’s acceptance of
responsibility.

e. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution.

i, The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence.

g. The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $700 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing. The defendant understands that failure
to pay the Special Assessment of $700 at or before sentencing will result in a breach
of the plea agreement.

h. The defendant certifies that he has made no transfer of assets or
property for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court: nor (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover,
the defendant promises that he will make no such transfers in the future.

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth ef the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets.
The defendant agrees not to contest any collection of such assets. In the event the
United States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered pleas of guilty shall remain in effect and cannot be
withdrawn.

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17. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted
directly or by a representative, to request or receive, or to authorize any third party to request or
receive, from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C.
§ 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims
under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement. the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement,
all statements made by him to law enforcement agents subsequent to the execution of this plea
agreement, any testimony given by him before a grand jury or any tribunal or any leads from such
statements or testimony shall be admissible against him in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,

Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,

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or any other federal rule that pertains to the admissibility of any statements made by him
subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that he has entered
into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court, his
attorneys or any other party to induce him to enter his plea of guilty.

21. No Undisclosed Terms. The United States and defendant acknowledge and agree
that the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be
enforceable against either party.

22. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

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drafting errors or ambiguities are not to be automatically construed against either party, whether
or not that party was involved in drafting or modifying this agreement.

Timothy A. Garrison
United States Attorney

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Dated: [31 [2020 / Sl I ow women (-

Bradley K. Kavanaugh 7
Assistant United States‘Attorney
Violent Crime and Drug Trafficking Unit

 

I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorney. I understand this
plea agreement and I voluntarily agree to it.

/ -Avb
Dated:
James Samuels

Defendant

I am defendant James Samuels’s attorney. I have fully explained to him his rights with
respect to the offenses charged in the Indictment. Further, I have reviewed with him the
provisions of the Sentencing Guidelines, which might apply in this case. I have carefully
reviewed every part of this plea agreement with him. To my knowledge, James Samuels’s
decision to enter into this plea agreement is an informed and volyntary one

Dated: ¥ Fl oe

John A/Picerno
Attorney for Defendant James Samuels

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